                     UNITED STATES COURT OF APPEALS
                         FOR THE EIGHTH CIRCUIT


STECKLEIN & RAPP CHARTERED,

                 Plaintiff/Appellee,
                                               Appeal No.: 23-1879
v.

EXPERIAN INFORMATION
SOLUTIONS, INC.,

                 Defendant/Appellant.

  DEFENDANT-APPELLANT’S NOTICE OF METHOD OF APPENDIX
                    PREPARATION

        Pursuant to 8th Cir. R. 30A(b) and the Court’s Briefing Schedule, the parties

met and conferred regarding the method of preparing the Appendix and, pursuant to

8th Cir. R. 30A(b)(3), the parties have agreed to file separate appendices.

                                         Respectfully submitted,

                                         JAMES SOBBA, LLC

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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 11, 2023, I electronically filed the foregoing with
the Clerk of the Eighth Circuit by using the CM/ECF system, which will send a
notice of electronic filing to all counsel of record.



                                        /s/ G. Edgar James
                                        Attorney for Defendant/Appellant
                                        Experian Information Solutions, Inc




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